         Case 2:11-cv-00309-RHW                      ECF No. 24       filed 10/24/12   PageID.160 Page 1 of 5



 1                                                                           The Honorable Robert H. Whaley
 2
      Steven C. Lacy
 3    Lacy Kane, P.S.
      300 Eastmont Avenue
 4    East Wenatchee, WA 98802
 5    Phone: (509) 884-9541
      Fax: (509) 884-4805
 6    steve@lacykane.com
 7
 8                             IN THE UNITED STATES DISTRICT COURT
                             FOR THE EASTERN DISTRICT OF WASHINGTON
 9
                                           AT SPOKANE
10
11
12    JENNIFER LANE,                                         )
13                                                           )    NO. CV-11-309-RHW
                                      Plaintiff,             )
14                                                           )    DECLARATION OF STEVEN
15                         vs.                               )    C. LACY IN SUPPORT OF
                                                             )    PLAINTIFF’S MOTION FOR
16
                                                             )    SUMMARY JUDGMENT
17                                                           )    RE: KEY EMPLOYEE DEFENSE
      GRANT COUNTY, a Washington                             )
18
      municipal corporation,                                 )
19                                                           )
20                                    Defendant.             )
                                                             )
21
22                         Pursuant to RCW 9A.72.085, I, Steven C. Lacy, state and declare:
23
                           1.         I am the attorney of record for the plaintiff in the above-
24
25
26   DECLARATION OF STEVEN C. LACY
     IN SUPPORT OF PLAINTIFF’S MOTION
27                                                                                         LACY KANE, P.S.
     FOR SUMMARY JUDGMENT                                                                    300 Eastmont Avenue
     RE: KEY EMPLOYEE DEFENSE                                                             East Wenatchee, WA 98802
28   c5:Lane-j.fmla\pleading\dosclisopmolpmfsj.kei                1               (509) 884-9541  Fax: (509) 884-4805
         Case 2:11-cv-00309-RHW                      ECF No. 24       filed 10/24/12   PageID.161 Page 2 of 5



 1    captioned matter. This declaration is based on my personal knowledge and I am
 2
      competent to testify about the matters asserted herein.
 3
 4                         2.         Attached as Exhibit A are true and correct copies of excerpts
 5
      from the Verbatim Report of Proceedings, Testimony of Jennifer Lane taken
 6
 7    before the Honorable Lonny R. Suko, United States District Judge on July 11,

 8    2011, in the case Gutierrez v. Grant County, U.S. District Court Cause No. CV-
 9
      10-00048-LRS.
10
11                         3.         Attached as Exhibit B are true and correct copies of excerpts
12
      from the deposition transcript of Jennifer Lane taken on October 3, 2012.
13
14                         4.         Attached as Exhibit C are true and correct copies of excerpts

15    from the deposition transcript of Jalane Christian-Stoker taken on August 23,
16
      2012.
17
18                         5.         Attached as Exhibit D are true and correct copies of excerpts
19
      from the deposition transcript of Jalane Christian-Stoker taken on March 9, 2011,
20
21    from the case Gutierrez v. Grant County, U.S. District Court Cause No. CV-10-

22    00048-LRS.
23
24
25
26   DECLARATION OF STEVEN C. LACY
     IN SUPPORT OF PLAINTIFF’S MOTION
27                                                                                         LACY KANE, P.S.
     FOR SUMMARY JUDGMENT                                                                    300 Eastmont Avenue
     RE: KEY EMPLOYEE DEFENSE                                                             East Wenatchee, WA 98802
28   c5:Lane-j.fmla\pleading\dosclisopmolpmfsj.kei                2               (509) 884-9541  Fax: (509) 884-4805
         Case 2:11-cv-00309-RHW                      ECF No. 24       filed 10/24/12   PageID.162 Page 3 of 5



 1                         6.         Attached as Exhibit E is a true and correct copy of Exhibit 3
 2
      from the deposition transcript of Cindy C. Carter taken on August 22, 2012.
 3
 4                         7.         Attached as Exhibit F are true and correct copies of excerpts
 5
      from the deposition transcript of Tammie Hechler taken on August 22, 2012.
 6
 7                         8.         Attached as Exhibit G are true and correct copies of excerpts

 8    from the deposition transcript of Carolann Swartz taken on August 23, 2012.
 9
                           9.         Attached as Exhibit H are true and correct copies of excerpts
10
11    from the deposition transcript of Richard B. Stevens taken on August 22, 2012.
12
                           10.        Attached as Exhibit I is a true and correct copy of a letter dated
13
14    July 9, 2009 Tammie L. Hechler to Jennifer Lane re: FMLA Non-

15    Reinstatement/Position Opening obtained by the plaintiff in course of discovery.
16
                           11.        Attached as Exhibit J is a true and correct copy of Position
17
18    Opening which was an attachment to a letter dated July 9, 2009 Tammie L.
19
      Hechler to Jennifer Lane re: FMLA Non-Reinstatement/Position Opening obtained
20
21    by the plaintiff in course of discovery.

22                         12.        Attached as Exhibit K is a true and correct copy of a letter
23
      dated September 1, 2009 Tammie L. Hechler to Jennifer Lane re: Separation
24
25
26   DECLARATION OF STEVEN C. LACY
     IN SUPPORT OF PLAINTIFF’S MOTION
27                                                                                         LACY KANE, P.S.
     FOR SUMMARY JUDGMENT                                                                    300 Eastmont Avenue
     RE: KEY EMPLOYEE DEFENSE                                                             East Wenatchee, WA 98802
28   c5:Lane-j.fmla\pleading\dosclisopmolpmfsj.kei                3               (509) 884-9541  Fax: (509) 884-4805
         Case 2:11-cv-00309-RHW                      ECF No. 24       filed 10/24/12   PageID.163 Page 4 of 5



 1    Date/Position Opening obtained by the plaintiff in course of discovery.
 2
 3
 4                         I hereby declare under penalty of perjury, pursuant to the laws of the
 5
      State of Washington, that the foregoing declaration is true and accurate in all
 6
 7    respects.

 8                         DATED this 24th day of October, 2012.
 9
10
11                                                           /s Steven C. Lacy
                                                             STEVEN C. LACY, WSBA # 10814
12
                                                             Attorney for Plaintiff
13                                                           Lacy Kane, P.S.
14                                                           300 Eastmont Ave.
                                                             East Wenatchee, WA 98802
15                                                           Telephone: (509) 884-9541
16                                                           Fax: (509) 884-4805
                                                             Email:steve@lacykane.com
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26   DECLARATION OF STEVEN C. LACY
     IN SUPPORT OF PLAINTIFF’S MOTION
27                                                                                         LACY KANE, P.S.
     FOR SUMMARY JUDGMENT                                                                    300 Eastmont Avenue
     RE: KEY EMPLOYEE DEFENSE                                                             East Wenatchee, WA 98802
28   c5:Lane-j.fmla\pleading\dosclisopmolpmfsj.kei                4               (509) 884-9541  Fax: (509) 884-4805
         Case 2:11-cv-00309-RHW                       ECF No. 24       filed 10/24/12   PageID.164 Page 5 of 5



 1
 2                                                   CERTIFICATE OF SERVICE
 3
                           I hereby certify that on October 24th, 2012, I electronically filed the
 4
      foregoing with the Clerk of the Court using the CM/ECF System which will send
 5
 6    notification of such filing to the following:
 7
 8               JERRY J. MOBERG
 9               PATRICK R. MOBERG
                 Attorneys for Defendant
10
                 451 Diamond Drive
11               Ephrata, WA 98823
12
13                                                            LACY KANE, P.S.
14
                                                              BY s/ Steven C. Lacy
15                                                            STEVEN C. LACY, WSBA # 10814
16                                                            Attorney for Plaintiff
                                                              Lacy Kane, P.S.
17
                                                              300 Eastmont
18                                                            East Wenatchee, WA 98802
                                                              Telephone: (509) 884-9541
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                                                              Fax: (509) 884-4805
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     FOR SUMMARY JUDGMENT                                                                     300 Eastmont Avenue
     RE: KEY EMPLOYEE DEFENSE                                                              East Wenatchee, WA 98802
28   c5:Lane-j.fmla\pleading\dosclisopmolpmfsj.kei                 5               (509) 884-9541  Fax: (509) 884-4805
